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Order Form (01/2005)

 

 

 

 

 

United States District Court, Northern District of Illinois pe
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CASE NUMBER 13 CR 5}5) 1, 2 DATE 7/1/2013
CASE USA vs. Dmitry Firtash, aka “Dmytro Firtash” and “DF”, Andras Knopp
TITLE

 

 

Original Warrants For Arrest issued as to Dmitry Firtash, also known as “Dmytro Firtash,” and “DF” and
Andras Knopp are hereby quashed. Warrants for Arrest to be issued as to Dmitry Firtash, also known as
“Dmytro Firtash,” and “DF” and Andras Knopp on the charges of Racketeering Conspiracy; Money
Laundering Conspiracy; Interstate Travel in Aid of Racketeering; and Conspiracy to Commit an Offense
against the United States. A copy of the warrants are to be provided to Assistant United States Attorney
Amarjeet Singh Bhachu.

 

 

 

 

Courtroom Deputy ETV
Initials:

 

 

 

 

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